                                                                                      17-40874-JJR7
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                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA - EASTERN DIVISION

  In the Matter of:
   Timothy S Davidson                     }      Case No: 17-40874-JJR7
   SSN: XXX-XX-6193                       }
   Hailey R Davidson                      }
   SSN: XXX-XX-5663                       }
      DEBTOR(S).                          }



                          ORDER RESCHEDULING HEARING
This matter came before the Court on Thursday, July 26, 2018 10:30 AM, for a hearing on the
following:
     RE: Doc #46; Trustee's Application to Employ Belt and Bruner, P.C., as Special Attorneys
     for the Estate, nunc pro tunc May 10, 2017, filed by Max C. Pope, Jr., Attorney for the
     Trustee
Proper notice of the hearing was given and appearances were made by the following:
     N/A


It is therefore ORDERED, ADJUDGED and DECREED that:

   For good cause found, the hearing is RESCHEDULED as to time only to 9:30 a.m. on July
   26, 2018, in Room 113 U.S. Courthouse, 12th & Noble Streets, Anniston, AL 36201.

Dated: 06/06/2018                                    /s/ JAMES J. ROBINSON
                                                     JAMES J. ROBINSON
                                                     Chief United States Bankruptcy Judge




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